Case 4:17-cv-00025-JHM-HBB Document 1 Filed 02/27/17 Page 1 of 7 PageID #: 1




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Admission Pro Hac Vice Pending                                       U.S. DISTRICT COURT
                                                                    WESTN. DIST. KENTUCKY
                              UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF KENTUCKY

  RICHARD MAIKE                                         Case No.:   i.l'.l1-tV--o2..$ -jHft
            Plaintiff,                                  COMPLAINT FOR
  v.                                                    VIOLATION OF FAIR CREDIT
                                                        REPORTING ACT (15 U.S.C. §
  BANK OF AMERICA, NATIONAL
                                                        1681 et seq.)
  ASSOCIATION AND EQUIFAX
  INFORMATION SERVICES, LLC,

            Defendants.

       COMES NOW Plaintiff, Richard Maike ("Plaintiff'), by and through counsel undersigned,

and for its causes of action against Defendants BANA Federal Savings Bank and Trans Union,

LLC, for violations of the Fair Credit Reporting Act, 15 U.S.C. §1681, et seq. and alleges as

follows:

       1.        That Plaintiff is, and was at all times hereinafter mentioned, a resident of Daviess
County, Kentucky.

       2.        That, on information and belief, Defendant, Bank of America, National Association

("BANA"), is, and at all times relevant hereto was, registered with the Kentucky Secretary of State

a Foreign National Bank authorized to do business in Kentucky under the name Bank of America,

National Association with a listed address of: 400 NATIONAL WAY, SIMI VALLEY, CA 93065.

       3.        That, on information and belief, Defendant BANA, is, and at all times relevant

hereto was, regularly doing business in Daviess County and the State of Kentucky.




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Case 4:17-cv-00025-JHM-HBB Document 1 Filed 02/27/17 Page 2 of 7 PageID #: 2




       4.      That, on information and belief, Defendant Equifax Information Services LLC,

("Equifax"), is a credit reporting agency, as defined by 15 U.S.C. § 1681a(f), licensed to do

business in Kentucky as a Foreign Limited Liability Company and has designated the following

registered statutory agent: CORPORATION SERVICE COMPANY,421 WEST MAIN STREET,

FRANKFORT, KY, 40601.

       5.      That, on information and belief, Defendant, Equifax, is, and at all times relevant

hereto was, regularly doing business in Daviess County and the State of Kentucky.

       6.      That the Court has jurisdiction over this action pursuant to 15 U.S.C. § 1681p, the

Fair Credit Reporting Act ("FCRA") and that personal jurisdiction exists over Defendant as it had

the necessary minimum contacts with the State of Kentucky and the injury occurred in Kentucky.

       7.      That the Plaintiff is a consumer and victim of inaccurate reporting by Defendants,

and has suffered particularized and concrete harm.

                                         I.     COUNTI
       8.      Plaintiff incorporates by reference all the above paragraphs of this Complaint as

though fully stated herein.

       9.      That on or about November 23, 2015, Defendant BANA issued a 1099-C,

cancellation of debt, for Plaintiffs BANA credit card account ending 9984-2318 ("Accountl ").

       10.     The 1099-C canceled the principal balance owed, excluding interest and fees.

       11.     The Identifiable Event Code on the 1099-C is marked "G".

       12.     Code "G" on a 1099-C represents that the creditor has made a decision or policy to

discontinue collection of the debt and cancel the debt.

       13.     Subsequently, Defendant submitted a tax form 1099-C to the Internal Revenue

Service ("IRS") for the cancellation of debt amount of the debt owed to Defendant.

       14.     As a result, Plaintiff was obligated to pay taxes on the cancelled debt.

       15.     That Defendant BANA still reported a balance on the Accountl, inclusive of

interest and fees, on Plaintiffs consumer credit report.




                                                 2
 Case 4:17-cv-00025-JHM-HBB Document 1 Filed 02/27/17 Page 3 of 7 PageID #: 3




        16.    That Defendant Equifax is willfully reporting derogatory and inaccurate

information about Plaintiff to third-parties.

        17.    On or about September 30, 2016, Plaintiff sent a written dispute regarding the

accuracy of the derogatory balance infonnation reported on Accountl by Defendant BANA to

Defendant Equifax, a consumer credit reporting agency as defined in 15 U.S.C. §168la.

        18.    Upon information and belief, Equifax forwarded at least a portion of Plaintiffs

dispute to Defendant BANA re: Accountl.

        19.    That on or about October 17, 2016, Defendants responded to Plaintiff's dispute

letter on Accountl without removing the erroneous balance information that was identified in

Plaintiff's dispute letter on Account!.

       20.     That Defendant BANA willfully failed to conduct a proper investigation and correct
the inaccurate balance reporting of the Account! to Equifax in violation of 15 U.S.C. § 1681s-2(b)

and to the detriment of the consumer Plaintiff.

       21.     That Defendant BANA is willfully reporting derogatory and inaccurate information

about Plaintiff to consumer reporting agencies, Equifax, as defined by 15 U.S.C. § 1681a.

       22.     That Defendant Equifax failed to conduct a reasonable reinvestigation in violation

of 15 U.S.C. § 168li(a)(l)(A) to the detriment of the consumer Plaintiff.

       23.     That Defendant Equifax failed to correct the inaccurate balance reporting of the

Account! in violation of 15 U.S.C. § 1681i and to the detriment of the consumer Plaintiff.

       24.     That Defendant Equifax, willfully failed to maintain reasonable procedures to

assure maximum accuracy of the information contained in Plaintiffs credit report in violation of

15 U.S.C. § 1681e.

       25.     That the foregoing acts and omissions of the Defendants constitute an unacceptable

violation of the FCRA.
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 Case 4:17-cv-00025-JHM-HBB Document 1 Filed 02/27/17 Page 4 of 7 PageID #: 4




                                         II.      COUNTII

       26.     Plaintiff incorporates by reference all the above paragraphs of this Complaint as

though fully stated herein.
       27.     That on or about November 23, 2015, Defendant BANA issued a 1099-C,
cancellation of debt, for Plaintiffs BANA account ending 9954-8962 ("Account2"). Exhibit A.
       28.     The 1099-C canceled the principal balance owed, excluding interest and fees.
       29.     The Identifiable Event Code on the 1099-C is marked "G".
       30.     Code "G" on a 1099-C represents that the creditor has made a decision or policy to
discontinue collection of the debt and cancel the debt.
       31.     Subsequently, Defendant submitted a tax form 1099-C to the IRS for the
cancellation of debt amount of the debt owed to Defendant BANA.
       32.     As a result, Plaintiff was obligated to pay taxes on the cancelled debt.
       33.     That Defendant BANA still reported a balance on Account2, inclusive of interest
and fees, on Plaintiffs consumer credit report.
       34.     That Defendant Equifax is willfully reporting derogatory and inaccurate
information about Plaintiff to third-parties.
       35.     On or about September 30, 2016, Plaintiff sent a written dispute regarding the
accuracy of the derogatory balance information reported on Account2 by Defendant BANA to
Equifax, a consumer credit reporting agency as defined in 15 U.S.C. §1681a.
       36.     Upon information and belief, Equifax forwarded at least a portion of Plaintiffs
dispute to Defendant BANA regarding Account2.
       37.     That on or about November 13, 2016, Defendants responded to Plaintiffs dispute
letter on Account2 without removing the erroneous balance information that was identified in
Plaintiffs dispute letter on Account2.
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Case 4:17-cv-00025-JHM-HBB Document 1 Filed 02/27/17 Page 5 of 7 PageID #: 5




       38.      That Defendant BANA willfully failed to conduct a proper investigation and correct

the inaccurate balance reporting of the Account2 to Equifax in violation of 15 U.S.C. § 1681 s-2(b)

and to the detriment of the consumer Plaintiff.

       39.      That Defendant BANA is willfully reporting derogatory and inaccurate information

about Plaintiff to consumer reporting agencies, Equifax, as defined by 15 U.S.C. § 1681a.

       40.      That Defendant Equifax failed to conduct a reasonable reinvestigation in violation

of 15 U.S.C. § 1681i(a)(1)(A) to the detriment of the consumer Plaintiff.

       41.      That Defendant Equifax failed to correct the inaccurate balance reporting of the

Account2 in violation of 15 U.S.C. § 1681i and to the detriment of the consumer Plaintiff.

       42.      That Defendant Equifax, willfully failed to maintain reasonable procedures to

assure maximum accuracy of the information contained in Plaintiff's credit report in violation of

15 U.S.C. § 1681e.

       43.      That the foregoing acts and omissions of the Defendants constitute an unacceptable

violation of the FCRA.

                                     Ill. PRAYER FOR RELIEF

       WHEREFORE, Plaintiff seeks a reasonable and fair judgment against Defendants for

willful noncompliance of the Fair Credit Reporting Act and seeks his statutory remedies as

defined by 15 U.S.C. § 1681n and demands:


                                             AS TO COUNT 1:

             1. Actual damages to be proven at trial, or statutory damages pursuant to 15 U.S.C. §

                 1681n(a)(1)(A), of not less than $100 and not more than $1,000 per violation;

             2. Punitive damages, pursuant 15 U.S.C. § 1681n(a)(2), for Defendant's willful

                violation;

             3. The costs of instituting this action together with reasonable attorney's fees incurred

                by Plaintiff pursuant to 15 U.S.C. § 1681n(a)(3); and

             4. Any further legal and equitable relief as the court may deem just and proper in the




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Case 4:17-cv-00025-JHM-HBB Document 1 Filed 02/27/17 Page 6 of 7 PageID #: 6




            circumstances.


                                           AS TO COUNT II:

        5. Actual damages to be proven at trial, or statutory damages pursuant to 15 U.S.C. §

            1681n(a)(1)(A), of not less than $100 and not more than $1,000 per violation;

        6. Punitive damages, pursuant 15 U.S.C. § 1681n(a)(2), for Defendant's willful

            violation;

        7. The costs of instituting this action together with reasonable attorney's fees incurred

            by Plaintiff pursuant to 15 U.S. C.§ 1681n(a)(3); and

        8. Any further legal and equitable relief as the court may deem just and proper in the

            circumstances.


    Respectfully submitted this   2-'   day of February, 2017.

                                               MCCARTHY LAW, PLC

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                                               6
                       Case 4:17-cv-00025-JHM-HBB Document 1 Filed 02/27/17 Page 7 of 7 PageID #: 7



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